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AQ93 Search and Seizure Warrant

To:

UNITED STATES DISTRICT COURT

for the
District of Arizona

Case No. 22 - S38 WAS

In the Matter of the Search of:
8921 W. Monterey Way, Phoenix, Arizona 85037.

SEARCH AND SEIZURE WARRANT

Any authorized law enforcement officer

An application by a federal law enforcement officer or an attorney for the government requests the search of the

following person or property located in the District of Arizona:

As further described in Attachment A

1 find that the affidavit(s), or any recorded testimony, establish probable cause to search and seize the person or

property described above, and that such search will reveal:

As set forth in Attachment B.

YOU ARE COMMANDED to execute this warrant on or before G a4 | 2a (not to exceed 14 days)

in the daytime 6:00 a.m. to 10:00 p.m. C1 at any time in the day or night as [ find reasonable cause has been established.

Unless delayed notice is authorized below, you must give a copy of the warrant and a receipt for the property taken

to the person from whom, or from whose premises, the property was taken, or leave the copy and receipt at the place where
the property was taken.

The officer executing this warrant, or an officer present during the execution of the warrant, must prepare an

inventory as required by law and promptly return this warrant and inventory to any United States Magistrate Judge on
criminal duty in the District of Arizona.

(11 find that immediate notification may have an adverse result listed in 18 U.S.C. § 2705 (except for delay of trial),

and authorize the officer executing this warrant to delay notice to the person who, or whose property, will be searched or

seized 0 for _30_ days (not to exceed 30) O until, the facts justifying, the later specific date of

Date and time issued: eghen er is> 2020

  
 

q : SF gwqudge ’s signature

City and state: Phoenix, Arizona Honorable Deborah M. Fine, U.S. Magistrate Judge

  

Printed name and title

 

 
